             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 1 of 23




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

             SERGIO BEJARANO,                          :    CRIMINAL NO.
                 Movant,                               :    1:05-CR-0477-CC-GGB-5
                                                       :
                   v.                                  :    CIVIL ACTION NO.
                                                       :    1:10-CV-1919-CC-GGB
             UNITED STATES OF AMERICA,                 :
                 Respondent.                           :    MOTION TO VACATE
                                                       :    28 U.S.C. § 2255


                             FINAL REPORT AND RECOMMENDATION

                   Movant, Sergio Bejarano, has filed a motion to vacate sentence under

             28 U.S.C. § 2255. [Doc. 1498]. Presently before me for consideration are: Movant’s

             § 2255 motion to vacate [Doc. 1498]; the United States of America’s (hereinafter

             “Government’s”) response to the motion to vacate [Doc. 1508]; and Movant’s motion

             for an evidentiary hearing [Doc. 1512] and motion to inquire about the status of the

             case [Doc. 1513]. For the reasons discussed below, I recommend that the Court deny

             the motion to vacate and issue a certificate of appealability on the issue of whether

             Padilla v. Kentucky, 130 S. Ct. 1473 (2010), announced a new rule of criminal

             procedure that is retroactively applicable to cases on collateral review.




AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 2 of 23




             I. Background

                   On October 19, 2005, a grand jury in this Court returned a nine-count

             superseding indictment charging Movant and thirty-one co-defendants with multiple

             drug trafficking and money laundering offenses. [Doc. 140]. Specifically, Movant

             was charged with conspiring to possess controlled substances, namely cocaine and

             methamphetamine, with the intent to distribute (Count One); and with conspiracy to

             launder money (Count Nine). [Id.]. On January 19, 2006, Movant entered a

             negotiated plea of guilty to both counts. [Doc. 410]. Movant’s written plea

             agreement entered into with the Government waived his right to appeal or collaterally

             attack his sentence. [Doc. 410-1 at 5-6, ¶ 12]. However, Movant reserved the right

             to appeal an upward departure from the otherwise applicable sentencing guidelines.

             [Id.]. Movant also reserved his right to appeal if the Government appealed the

             sentence. [Id.].

                   On September 16, 2008, the Court sentenced Movant to a total term of 121

             months of imprisonment, five years of supervised release, and a $200 special

             assessment. [Doc. 1156]. On September 22, 2008, Movant filed a timely notice of

             appeal. [Docs. 1205, 1216]. Movant’s attorney, however, moved to withdraw from

             further representation of Movant and filed a brief under Anders v. California, 386

                                                      2



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 3 of 23




             U.S. 738 (1967).1 [Doc. 1454]. On June 19, 2009, the United States Court of

             Appeals for the Eleventh Circuit granted counsel’s motion to withdraw and affirmed

             Movant’s conviction and sentence. [Id.].

                   On June 18, 2010, Movant filed a motion to vacate under 28 U.S.C. § 2255,

             raising the following grounds for relief:

                   1.       counsel was ineffective for failing to inform Movant of the
                            deportation consequences of his guilty plea; and

                   2.       counsel was ineffective for failing to “advise, discuss and permit”
                            Movant to review and object to the erroneous presentence
                            investigation report (“PSR”).

             [Doc. 1498].

             II.   Standard of Review

                   Under § 2255, individuals sentenced by a federal court can attack the sentence

             imposed by claiming one of four different grounds: “(1) that the sentence was

             imposed in violation of the Constitution or laws of the United States; (2) that the

             court was without jurisdiction to impose such sentence; (3) that the sentence was in

             excess of the maximum authorized by law; and (4) that the sentence is otherwise

                   1
                     “The so-called ‘Anders brief’ serves the valuable purpose of assisting the court
             in determining both that counsel in fact conducted the required detailed review of the
             case and that the appeal is indeed so frivolous that it may be decided without an
             adversary presentation.” Penson v. Ohio, 488 U.S. 75, 81-82 (1988).

                                                         3



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 4 of 23




             subject to collateral attack.” Hill v. United States, 368 U.S. 424, 426-27 (1962); see

             generally United States v. Hayman, 342 U.S. 205 (1952). “To obtain collateral relief

             a prisoner must clear a significantly higher hurdle than would exist on direct appeal.”

             United States v. Frady, 456 U.S. 152, 166 (1982). Movant must establish that the

             facts surrounding his claim present “exceptional circumstances where the need for the

             remedy afforded by the writ of habeas corpus is apparent.” Bowen v. Johnston, 306

             U.S. 19, 27 (1939).

                   This Court may deny § 2255 relief without an evidentiary hearing if “the

             motion and the files and records of the case conclusively show that the prisoner is

             entitled to no relief.” 28 U.S.C. § 2255; see Long v. United States, 883 F.2d 966, 968

             (11th Cir. 1989). Under § 2255, however, an evidentiary hearing is required when

             the Court cannot determine from the record that the prisoner is entitled to no relief.

             Diaz v. United States, 930 F.2d 832, 834 (11th Cir. 1991). As discussed below, the

             motion and record of the case conclusively show that Movant is not entitled to relief

             or to an evidentiary hearing.




                                                       4



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 5 of 23




             III. Discussion

                    A. Movant’s Waiver Precludes Him From Raising an Ineffective
                       Assistance Claim Related to Sentencing.

                    The Government contends that Ground Two raised by Movant in his § 2255

              motion, that counsel was ineffective for failing to “advise, discuss and permit”

              Movant to review and object to the erroneous PSR, should not be entertained by the

              Court because Movant, in the negotiated plea agreement, waived the right to

              collaterally attack his sentence. The waiver signed by Movant states:

                    12. LIMITED WAIVER OF APPEAL: To the maximum extent
                    permitted by federal law, the defendant voluntarily and expressly waives
                    the right to appeal his sentence and the right to collaterally attack his
                    sentence in any post-conviction proceeding on any ground, except that
                    the defendant may file a direct appeal of an upward departure from the
                    otherwise applicable sentencing guideline range. The defendant
                    understands that this Plea Agreement does not limit the Government’s
                    right to appeal, but if the Government appeals the sentence imposed, the
                    defendant may also file a direct appeal of his sentence.

             [Doc.410-1 at 5-6, ¶12].

                    A defendant who enters into a plea agreement may waive his right to appeal or

             collaterally challenge his sentence, and the waiver will be enforced if it is made

             knowingly and voluntarily. See United States v. Weaver, 275 F.3d 1320, 1333 (11th

             Cir. 2001); United States v. Bushert, 997 F.2d 1343, 1350 (11th Cir. 1993). “One of

             the keys to enforcing a sentence appeal waiver is that the defendant knew he had a

                                                       5



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 6 of 23




             ‘right to appeal his sentence and that he was giving up that right.’” Bushert, 997 F.2d

             at 1350 (quoting United States v. Rutan, 956 F.2d 827, 830 (8th Cir. 1992)). In order

             to prevail in an argument to enforce a waiver, the Government must show that either

             “(1) the district court specifically questioned the defendant concerning the sentence

             appeal waiver during the Rule 11 [plea] colloquy, or (2) it is manifestly clear from the

             record that the defendant otherwise understood the full significance of the waiver.”

             Bushert, 997 F.2d at 1351.

                   Movant acknowledged at the plea hearing that the plea agreement provided his

             intention to plead guilty, that he had signed it, and that he had no questions for the

             Court. [Doc. 1123 at 4, 49]. In addition, the Court addressed the negotiated appeal

             waiver with Movant during the Rule 11 plea colloquy as follows:

                   THE COURT: Did each defendant, in connection with the guilty plea
                   struck with the government, agree to a limited waiver?

                   THE GOVERNMENT: Yes, Your Honor, it covers both direct appeal
                   and collateral attack.

                   THE COURT: Thank you. Do each of you understand that whatever
                   sentence this Court imposes at your sentencing hearing, you will not be
                   able to appeal that sentence unless that sentence is an upward departure
                   from the applicable custody guideline range, or if the government
                   decides to appeal then you would be free to appeal? Only in those two
                   instances will you be able to appeal your sentence.
                   Do each of you understand that? Mr. Franklin?


                                                        6



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 7 of 23




                   DEFENDANT FRANKLIN: Yes, sir.

                   THE COURT: Mr. Cardenas?

                   DEFENDANT CARDENAS: Yes, sir.

                   THE COURT: Mr. Bejarano?

                   DEFENDANT BEJARANO: Yes, Your Honor.

                   THE COURT: And do each of you understand that you also gave up
                   your right to collaterally attack any sentence this Court might impose at
                   your sentencing hearing? Mr. Franklin?

                   DEFENDANT FRANKLIN: Yes, sir.

                   THE COURT: Mr. Cardenas?

                   DEFENDANT CARDENAS: Yes, sir.

                   THE COURT: Mr. Bejarano?

                   DEFENDANT BEJARANO: Yes, Your Honor.

             [Doc. 1123 at 31-32].

                   Here, it is clear from the record that Movant knowingly and voluntarily waived

             his right to appeal and collaterally challenge his sentence. Movant specifically

             acknowledged by signing the appeal waiver that he understood and agreed to waive

             his appeal rights voluntarily notwithstanding the Court’s determination of his ultimate

             sentence. [Doc. 410-1 at 13]. Further, the Court explained to Movant during the plea


                                                       7



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 8 of 23




             colloquy that he was waiving his right to collaterally attack his sentence by signing

             the appeal waiver, and Movant indicated that he understood that he had waived that

             right. [Doc. 1123 at 31-32]; see United States v. Stevenson, 131 F. App’x 248, 250

             (11th Cir. May 12, 2005) (holding that, for a waiver to be valid, “during the plea

             colloquy, the district court must at least refer to the fact that the defendant is waiving

             his rights to appeal his sentence under most or certain circumstances”). Thus,

             Movant’s waiver is valid.

                   When a movant challenges the constitutionality of his conviction or sentence

             after having waived the right to do so in a plea agreement, “the right to mount a

             collateral attack pursuant to § 2255 survives only with respect to those discrete claims

             which relate directly to the negotiation of the waiver.” Jones v. United States, 167

             F.3d 1142, 1145 (7th Cir. 1999). Finding that “a valid sentence-appeal waiver,

             entered into voluntarily and knowingly, pursuant to a plea agreement, precludes the

             defendant from attempting to attack, in a collateral proceeding, the sentence through

             a claim of ineffective assistance of counsel during sentencing,” the Eleventh Circuit

             opined that to hold otherwise would “permit a defendant to circumvent the terms of

             the sentence-appeal waiver simply by recasting a challenge to his sentence as a claim

             of ineffective assistance, thus rendering the waiver meaningless.” Williams v. United


                                                         8



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 9 of 23




             States, 396 F.3d 1340, 1342 (11th Cir. 2005).

                   Here, Movant’s claim in Ground Two that counsel was ineffective for failing

             to “advise, discuss and permit” Movant to review and object to the erroneous PSR

             does not relate to the negotiation of the plea or waiver. Thus, Movant’s waiver of his

             rights to challenge his sentence is controlling with respect to his ineffective assistance

             of counsel claim dealing with the PSR. See United States v. Smith, 371 F. App’x 901,

             904 (10th Cir. 2010) (holding defendant’s claim that his trial counsel was ineffective

             for failing to object to PSR was within scope of appellate waiver contained in his plea

             agreement).

                   B. Movant’s First Ground For Relief is Without Merit Because Padilla Does
                      Not Apply Retroactively.

                   In Ground One, Movant contends that counsel was ineffective for failing to

             inform Movant of the deportation consequences of his guilty plea. The appeal waiver

             contained in Movant’s plea agreement does not bar this claim because the claim

             challenges the validity of the guilty plea itself.        The standard for evaluating

             ineffective assistance of counsel claims was set forth in Strickland v. Washington, 466

             U.S. 668 (1984). Under the two-part Strickland standard, “the petitioner must show

             that counsel’s representation fell below an objective standard of reasonableness.”

             Strickland, 466 U.S. at 688. Next, Movant must prove “that there is a reasonable

                                                         9



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 10 of 23




              probability that, but for counsel’s unprofessional errors, the result of the proceeding

              would have been different.” Id. at 694. “In order to meet the first prong of this test,

              however, counsel’s failure to warn of the immigration consequences of a plea must

              fall below the objective standard of reasonableness.” Sarria v. United States, No. 11-

              20730-CIV, 2011 WL 4949724, at *2 (S.D. Fla. Oct. 18, 2011).             In Padilla v.

              Kentucky, the case relied on by Movant in Ground One, the Supreme Court held that

              a criminal defense attorney may render constitutionally ineffective assistance by

              failing to advise his non-citizen client of the risk of deportation associated with a

              guilty plea. Padilla, 130 S. Ct. 1473 (2010). Because Padilla was decided after

              Movant’s conviction became final on direct review, Movant seeks to retroactively

              apply the Supreme Court’s holding in Padilla to his case on collateral review.

                    1. Padilla v. Kentucky

                    In Padilla, the defendant claimed that his counsel failed to advise him of the

              effect of his guilty plea on his immigration status. Padilla, 130 S.Ct. at 1478. The

              defendant “allege[d] that he would have insisted on going to trial if he had not

              received incorrect advice from his attorney.” Id. The Supreme Court of Kentucky

              denied the defendant’s post-conviction relief, holding “that the Sixth Amendment’s

              guarantee of effective assistance of counsel does not protect a criminal defendant


                                                        10



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 11 of 23




              from erroneous advice about deportation because it is merely a ‘collateral’

              consequence of his conviction.” Id.

                    Before concluding that the test it set out in Strickland applied to the claim

              presented in Padilla, the Supreme Court first addressed the lower court’s view that

              “collateral consequences are outside the scope of representation required by the Sixth

              Amendment.” Padilla, 130 S. Ct. at 1481 & n.9 (citing decisions from six federal

              courts of appeal, including Campbell, in noting that the lower court was “far from

              alone in this view”). The Supreme Court refused to apply the distinction between

              direct and collateral consequences, finding it “ill-suited to evaluating a Strickland

              claim concerning the specific risk of deportation,” and concluded that “advice

              regarding deportation is not categorically removed from the ambit of the Sixth

              Amendment right to counsel.” Id. at 1481-82.

                    With regard to the Strickland test, the Court stated that “[i]t is quintessentially

              the duty of counsel to provide her client with available advice about an issue like

              deportation and the failure to do so clearly satisfies the first prong of the Strickland

              analysis.” Id. at 1484 (internal quotation marks omitted). Although the Supreme

              Court found the first prong of Strickland was met, whether the defendant in Padilla

              was entitled to relief depended upon whether he could show prejudice, the second


                                                        11



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 12 of 23




              prong of the Strickland analysis. Id. at 1487. The Court remanded the case in order

              to determine whether the defendant could “demonstrate prejudice as a result” of his

              counsel’s conduct. Id.

                    In the current case, Movant seeks to apply the Supreme Court’s ruling in

              Padilla to show that his counsel’s conduct fell below a reasonable standard and prove

              that he was therefore prejudiced. Accordingly, the issue is whether this Court should

              apply the ruling in Padilla retroactively.

                     2. The Teague Retroactivity Doctrine

                    “The Teague doctrine bars retroactive application in a § 2255 proceeding of

              any new constitutional rule of criminal procedure which had not been announced at

              the time the movant’s conviction became final, with two narrow exceptions.” McCoy

              v. United States, 266 F.3d 1245, 1255 (11th Cir. 2001) (citing Teague, 489 U.S. at

              310-13). The exceptions are if the new rule (1) “places certain kinds of primary

              private individual conduct beyond the power of the criminal law-making authority to

              proscribe” or (2) “requires the observance of those procedures that . . . are implicit in

              the concept of ordered liberty,” i.e., “new procedures without which the likelihood

              of an accurate conviction is seriously diminished.” Teague, 489 U.S. at 307, 313

              (quotations omitted).


                                                         12



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 13 of 23




                    A case announces a “new rule” if it “breaks new ground or imposes a new

              obligation on the States or the Federal Government. To put it differently, a case

              announces a new rule if the result was not dictated by precedent existing at the time

              the defendant’s conviction became final.” Id. at 301 (citations omitted). “A result

              is not dictated by precedent just because the result the habeas petitioner seeks is

              within the logical compass of a prior Supreme Court decision, or because prior

              Supreme Court decisions inform, or even control or govern, the analysis of the

              claim.” Howard v. United States, 374 F.3d 1068, 1074 (11th Cir. 2004) (quotations

              omitted). Instead, “a result is dictated by precedent only if the court considering the

              claim at the time the conviction became final ‘would have felt compelled by existing

              precedent to conclude that the rule [the defendant] seeks was required by the

              Constitution.’” Id. (quoting Glock v. Singletary, 65 F.3d 878, 884 (11th Cir. 1995)).

                    3. Circuit Splits

                    The question of whether Padilla represents a new rule or merely a variation on

              the Strickland analysis has resulted in a recent split among the Circuit Courts of

              Appeals. The Third Circuit recently addressed this issue in United States v. Orocio,

              645 F.3d 630 (3d Cir. 2011), and held that the Supreme Court’s decision in Padilla

              should be “retroactively applicable on collateral review.” Orocio, 645 F.3d at 634.


                                                        13



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 14 of 23




                    In Orocio, the defendant was a lawful permanent resident who, based on the

              advice of his counsel, pled guilty to one count of simple possession of a controlled

              substance. Id. The defendant filed a coram nobis petition alleging that his attorney

              did not “provide the effective assistance of counsel required by Strickland.” Id. at

              635. The court found that using Padilla within the Strickland analysis “is not so

              removed from the broader outlines of precedent as to constitute a ‘new rule,’ for the

              Court had long required effective assistance of counsel on all ‘important decisions.’”

              Id. at 638 (citing Strickland, 466 U.S. at 688). Because the first prong of the

              Strickland analysis is based upon a determination of whether the attorney’s

              representation “fell below an objective standard of reasonableness,” the Court

              reasoned that Padilla simply applied “the norms of the legal profession that insist

              upon adequate warning to criminal defendants of immigration consequences.” Id. at

              638. “[B]ecause Padilla followed directly from Strickland and long-established

              professional norms, it is an ‘old rule’ for Teague purposes,” and the Third Circuit

              found that it applied retroactively. Id. at 641.

                    Two other circuits, however, have recently reached the opposite conclusion.2


                    2
                     The Fourth Circuit has not directly ruled on the issue, but has noted that,
              “nothing in the Padilla decision indicates that it is retroactively applicable to cases
              on collateral review.” United States v. Hernandez-Monreal, 404 F. App’x 714, 715

                                                         14



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 15 of 23




              In Chaidez v. United States, No. 10–3623, 2011 WL 3705173 (7th Cir. Aug. 23,

              2011), the Seventh Circuit concluded that the Padilla decision constituted a new rule

              that did not fall within the two exceptions laid out in Teague and therefore should not

              apply retroactively.3 In Chaidez, the defendant was a lawful permanent resident of

              the United States who, on the advice of counsel, pled guilty to mail fraud involving

              a loss in excess of $10,000, thus rendering her eligible for deportation. Id. at *1. The

              defendant then alleged ineffective assistance of counsel because her attorney never

              informed her of the consequences her plea would have on her immigration status. Id.

                    The Seventh Circuit applied the Teague analysis and inquired into whether a

              court considering the defendant’s claim, prior to the decision in Padilla, “would have

              felt compelled by existing precedent to conclude that [Padilla] was required by the

              Constitution.” Id. at *3 (quoting Saffle v. Parks, 494 U.S. 484, 488 (1990)). The

              Seventh Circuit determined that the Padilla decision was not compelled by precedent

              based upon the “narrow definition of what constitutes an old rule,” the decisions of

              lower courts, and the differing opinions within the Supreme Court in Padilla itself.



              n. 1 (4th Cir. 2010).
                    3
                     In Chaidez, “the parties agree[d] that if Padilla announced a new rule neither
              exception to non-retroactivity applies.” Id. at *3.


                                                        15



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 16 of 23




              Chaidez, 655 F.3d 684, 2011 WL 3705173, at *8.

                    The Chaidez court noted that, prior to the Court’s decision in Padilla, “the

              lower federal courts consistently reaffirmed that deportation is a collateral

              consequence of a criminal conviction and that the Sixth Amendment does not require

              advice regarding collateral consequences.” Id. at *5. Further, “at least nine Courts

              of Appeals had uniformly held that the Sixth Amendment did not require counsel to

              provide advice concerning any collateral (as opposed to direct) consequences of a

              guilty plea.” Id.

                    The Chaidez court also reasoned that the varying opinions within the Supreme

              Court regarding the outcome in Padilla indicated that it could not have been dictated

              by precedent. Chaidez, 655 F.3d 684, 2011 WL 3705173, at *4. “Lack of unanimity

              on the Court in deciding a particular case supports the conclusion that the case

              announced a new rule.” Id. The justices of the Padilla Court offered such an “array

              of views.” Id. The concurrence in Padilla noted that the majority’s decision was

              ground-breaking, referring to the holding as a “dramatic departure from precedent.”

              Id.(citing Padilla, 130 S. Ct. at 1488). In his dissent, Justice Scalia stated that

              “[t]here is no basis in text or in principle to extend the constitutionally required

              advice regarding guilty pleas beyond those matters germane to the criminal


                                                       16



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 17 of 23




              prosecution at hand.” Padilla, 130 S. Ct. at 1495.

                    The Tenth Circuit reached a similar result in United States v. Chang Hong, No.

              10–6294, 2011 WL 3805763 (10th Cir. Aug. 30, 2011). In Chang Hong, the

              defendant was of South Korean descent and a permanent legal resident of the United

              States. Chang Hong, 2011 WL 3805763, at *1. While in jail after pleading guilty to

              a drug crime and being sentenced to 37 months, the defendant was notified he was

              subject to removal from the United States. Id. The defendant sought to vacate his

              conviction and sentence as well as to withdraw his guilty plea based on ineffective

              assistance of counsel due to his counsel’s failure to advise him as to the immigration

              consequences of his plea. Id. The Tenth Circuit determined that Padilla represents

              a new rule “because it was not compelled by existing precedent at the time

              [defendant’s] conviction became final.” Id. at *3. Additionally, the Tenth Circuit

              examined the decisions of lower courts as well as noting the “strong concurrence and

              dissent” in Padilla. Id. at *6. It found that prior to the decision in Padilla, “most

              state and federal courts had considered the failure to advise a client of potential

              collateral consequences of a conviction to be outside the requirements of the Sixth

              Amendment.”      Id. at *6.   In holding the decision in Padilla did not apply

              retroactively, the Chang Hong court wrote that “Padilla marked a dramatic shift


                                                       17



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 18 of 23




              when it applied Strickland to collateral civil consequences of a conviction—a line

              courts had never crossed before.” Id. at *7.

                    4. Padilla Announced A New Rule that is Not Retroactively Applicable.

                    Movant’s case is much like the cases discussed above. Movant is not a citizen

              of the United States and pled guilty to crimes leading to potential immigration

              consequences. Movant seeks to apply the Court’s ruling in Padilla retroactively. The

              reasoning set forth in the decisions of the Seventh and Tenth Circuits, however, is

              more persuasive than that of the Third Circuit, and accordingly, I find that Padilla is

              a new rule that does not apply retroactively.

                    As discussed above, a rule is considered old when “a court considering the

              defendant’s claim at the time his conviction became final would have felt compelled

              by existing precedent to conclude that the rule he seeks was required by the

              Constitution.” Chang Hong, 2011 WL 3805763, at *5 (quoting O'Dell v. Netherland,

              521 U.S. 151, 156 (1997)). Before Padilla, the Eleventh Circuit decided two cases

              involving the issue of criminal defense counsel’s advice on the immigration

              consequences associated with a guilty plea. United States v. Campbell, 778 F.2d 764

              (11th Cir. 1985), abrogated by Padilla v. Kentucky, 130 S. Ct. 1473 (2010); Downs-

              Morgan v. United States, 765 F.2d 1534 (11th Cir. 1985). In Campbell, the court


                                                        18



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 19 of 23




              held that a lawyer’s failure to advise her client of the risk of deportation does not

              constitute constitutionally ineffective assistance of counsel. 778 F.2d at 768-69. In

              Downs-Morgan, the court held that a lawyer’s affirmative misadvice to her client

              regarding the risk of deportation does not necessarily constitute ineffective assistance,

              but may do so in the “unique circumstances” where the client faces “imprisonment

              and execution” if she is deported. 765 F.2d at 1540-41 & n.15.

                    Given that “a result is dictated by precedent only if the court considering the

              claim at the time the conviction became final ‘would have felt compelled by existing

              precedent to conclude that the rule [the defendant] seeks was required by the

              Constitution,’” Howard, 374 F.3d at 1074, it follows from the precedent existing at

              the time Movant’s conviction became final that Padilla’s result was not dictated.

              Thus, Padilla announced a new rule. See id.; Glock, 65 F.3d at 884. As the Seventh

              Circuit noted, “if Padilla is considered an old rule, it is hard to imagine an application

              of Strickland that would qualify as a new rule.” Chaidez, 655 F.3d 684, 2011 WL

              3705173, at *7.

                    Padilla does not appear to fall within the two narrow exceptions set out in

              Teague. As noted by the court in Chang Hong, “A new rule will apply retroactively

              to a final conviction only under very limited circumstances.” Chang Hong, 2011 WL


                                                         19



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 20 of 23




              3805763, at *8. The Tenth Circuit noted that because the rule in Padilla is not

              substantive, only the procedural exception to non-retroactivity might apply. Id. The

              Chang Hong court then recognized that “[t]he exception is quite narrow, and since

              Teague, the [Supreme] Court has rejected every attempt to fit a case within the

              exception. To surmount this ‘watershed’ requirement, a new rule (1) ‘must be

              necessary to prevent an impermissibly large risk of an inaccurate conviction,’ and (2)

              ‘must alter our understanding of the bedrock procedural elements essential to the

              fairness of a proceeding.’” Id. (internal citations omitted). I conclude that Padilla

              does not fall within this exception to non-retroactivity. Padilla therefore is a new rule

              that does not apply retroactively to Movant’s case. See Sarria, 2011 WL 4949724,

              at *3-6 (analyzing Padilla and circuit court cases and holding that Padilla is a new

              rule that does not apply retroactively).

                    Furthermore, even if Movant could apply Padilla retroactively, thus meeting

              the first prong of the Strickland analysis, he is unable to show prejudice and

              overcome the second prong of the test. Movant does not allege that had he known

              about the consequences of his immigration status he would not have pled guilty and

              would have elected to go to trial. [Doc. 1498 at 4]. He has not proclaimed his

              innocence or alleged any potential defenses. Under the Strickland analysis, Movant


                                                         20



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 21 of 23




              must demonstrate a “reasonable probability” that the result would have been

              different, but for counsel’s errors. Bradford v. Whitely, 953 F.2d 1008, 1012 (5th Cir.

              1992). He has not met that showing here. Thus, his claim raised in Ground One is

              without merit.

              IV. Certificate of Appealability

                    According to Rule 11 of the Rules Governing Section 2255 Proceedings for the

              United States District Courts, a district court “must issue or deny a certificate of

              appealability when it enters a final order adverse to the applicant.” Under 28 U.S.C.

              § 2253(c)(2), a certificate of appealability (“COA”) shall not issue unless “the

              applicant has made a substantial showing of the denial of a constitutional right.” A

              prisoner satisfies this standard by demonstrating that reasonable jurists would find

              that the district court’s assessment of his constitutional claims is debatable or wrong

              and that any dispositive procedural ruling by the district court is likewise debatable.

              See Miller-El v. Cockrell, 537 U.S. 322, 336 (2003); Slack v. McDaniel, 529 U.S.

              473, 484 (2000).

                    A COA is warranted in this case. As discussed in Part III, above, the resolution

              of Movant’s § 2255 motion largely turns on the issue of whether the Supreme Court’s

              holding in Padilla retroactively applies to cases on collateral review. The answer to


                                                        21



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 22 of 23




              that question is reasonably debatable among jurists of reason, as demonstrated by the

              split of authority that has developed in the appellate courts in the year since Padilla

              was decided. See supra Part III. Accordingly, I find that Movant might make a

              substantial showing of the denial of a constitutional right should he appeal the

              Court’s ultimate ruling on his § 2255 motion. I recommend that, if this Report and

              Recommendation is adopted, the Court issue a COA on the issue of whether Padilla

              announced a new rule of criminal procedure that is retroactively applicable to cases

              on collateral review.

              V. Conclusion

                    Based on the foregoing, I RECOMMEND that Movant Sergio Bejarano’s

              motion to vacate sentence [Doc. 1498] be DENIED, and that a COA be GRANTED.

                    I FURTHER RECOMMEND that Movant’s motion for an evidentiary

              hearing [Doc. 1512] and motion to inquire about the status of the case [Doc. 1513]

              be DENIED as moot.

                    The Clerk is DIRECTED to terminate the referral to me.



                    IT IS SO RECOMMENDED, this 10th day of November, 2011.




                                                        22



AO 72A
(Rev.8/82)
             Case 1:05-cr-00477-MHC-GGB Document 1571 Filed 11/10/11 Page 23 of 23




                                                GERRILYN G. BRILL
                                                UNITED STATES MAGISTRATE JUDGE




                                                  23



AO 72A
(Rev.8/82)
